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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA

    v.                                       Crim. Action No. 1:21CR108

    MICHAEL J. FOY,

                      Defendant.



           MR. FOY’S MOTION TO DISMISS OBSTRUCTION CHARGE

         Michael Foy, through undersigned counsel, and pursuant to Fed. R. Crim. P.

12(b)(3)(B)(v), hereby respectfully requests that the Court dismiss Count Two of the

Superseding Indictment, which charges him with obstruction of an official proceeding

under 18 U.S.C. § 1512(c)(2) & 2.

         In Count One, of the Indictment alleges that, on or about January 6, 2021, in

the District of Columbia and elsewhere, Mr. Foy

               attempted to, and did, corruptly obstruct, influence, and
               impede an official proceeding; that is, a proceeding before
               Congress, that is, a proceeding before Congress, by
               entering and remaining in the United States Capitol
               without authority and committing an act of civil disorder.
ECF No. 6.

         The Court should dismiss Count Two because it is fatally flawed for several

reasons. 1


1 Mr. Foy, through undersigned counsel, recognizes that a majority of the Court’s
colleagues have denied motions to dismiss charges of obstruction under 18 U.S.C. §
1512(c)(2). See e.g., Memorandum Opinions in United States v. Andries, No. 1:21-CR-
93 (RCL), 2022 WL 768684 (D.D.C. March 14, 2022). [hereinafter Andries mem. op.];
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      First, as Judge Nichols recently found in another January 6 case 2, the conduct

Mr. Foy has been accused of committing cannot qualify as conduct that “otherwise

obstructs, influences, or impedes” an official proceeding, within the meaning of

Section 1512(c)(2). 3 Second, 18 U.S.C. § 1512(c)(2) only prohibits the corrupt

obstruction of tribunal-like proceedings before Congress related to the administration

of justice. It does not prohibit the obstruction of a ceremonial proceeding before

Congress like the certification of the electoral college vote. Thus Mr. Foy’s alleged

obstruction of the certification of the electoral college vote is not a crime under 18

U.S.C. § 1512(c). Third, Section 1512(c)(2) is unconstitutionally vague in that

“corruptly” is undefined and itself vague.

      For these reasons, and in light of the demands of the rule of lenity, Mr. Foy

respectfully requests that the Court dismiss Count Two.



     COUNT TWO FAILS TO ALLEGE CONDUCT THAT “OTHERWISE
       OBSTRUCTS, INFLUENCES, OR IMPEDES ANY OFFICIAL
                        PROCEEDING”
      Count Two fails to allege an actus reus that falls within 18 U.S.C. § 1512(c)(2).

This is a separate ground for dismissal of Count Two. See Miller mem. op. at 15

(dismissing obstruction count in a January 6 case where Indictment did not allege or

imply that defendant Miller “took some action with respect to a document, record, or


United States v. Caldwell et al., No. 21-CR-28 (APM), 2021 WL 6062718 (D.D.C. Dec.
20, 2021) [hereinafter “Caldwell mem. op.”].
2 The government has appealed Judge Nichols’s opinion in United States v. Miller,
1:21-CR-119 (CJN), 2022 WL 823070 (D.D.C. March 7, 2022) [hereinafter “Miller
mem. op.”]. The U.S. Supreme Court and the D.C. Circuit have not ruled on this issue.



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other object in order to corruptly obstruct, impede, or influence Congress’s

certification of the electoral vote.”).

       Section 1512(c) of Title 18 provides:

              (c) Whoever corruptly—
              (1) alters, destroys, mutilates, or conceals a record,
              document, or other object, or attempts to do so, with the
              intent to impair the object’s integrity or availability for use
              in an official proceeding; or
              (2) otherwise obstructs, influences, or impedes any official
              proceeding, or attempts to do so,
              shall be fined under this title or imprisoned not more than
              20 years, or both.
       Because     Section    1512(c)(2)   only   prohibits   “otherwise    obstruct[ing],

influenc[ing], or imped[ing] any official proceeding,” only acts that fall within that

clause violate the act. This is because the “otherwise” clause must be construed in

light of 1512(c) as a whole, and the broader context for that provision. As Judge

Nichols found in Miller and as the Department of Justice’s own Attorney General

recently explained, Supreme Court case law demonstrates that this is so. Relying on

Begay v. United States, 553 U.S. 137 (2008), and Yates v. United States, 574 U.S. 528

(2015), the former Attorney General explained:

       [I]t is clear that use of the word “otherwise” in the residual clause [of
       Section 1512(c)(2)] expressly links the clause to the forms of obstruction
       specifically defined elsewhere in the provision. Unless it serves that
       purpose, the word “otherwise” does no work at all and is mere
       surplusage. [An] interpretation of the residual clause as covering any
       and all acts that influence a proceeding reads the word “otherwise” out
       of the statute altogether. But any proper interpretation of the clause
       must give effect to the word “otherwise;” it must do some work.




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Memorandum from William Barr to Deputy Attorney General Rod Rosenstein and

Assistant Attorney General Steve Engel of June 8, 2018 [hereinafter “Barr Memo”]

at 4 (emphasis omitted). 4 After discussing Begay and Yates and how those cases

emphasized that “specific examples enumerated prior to the residual clause are

typically read as refining or limiting in some way the broader catch-all term used in

the residual clause,” he continued,

       Consequently, under the statute’s plain language and structure, the
       most natural and plausible reading of 1512(c)(2) is that it covers acts
       that have the same kind of obstructive impact as the listed forms of
       obstruction — i.e., impairing the availability or integrity of evidence —
       but cause this impairment in a different way than the enumerated
       actions do. Under this construction, then, the “catch all” language in
       clause (c)(2) encompasses any conduct, even if not specifically described
       in 1512, that is directed at undermining a proceeding’s truth-finding
       function through actions impairing the integrity and availability of
       evidence.

Id. at 4-5 (emphasis omitted) (emphasis added). 5



4 This is available at https://s3.documentcloud.org/documents/5638848/June-2018-
Barr-Memo-to-DOJ-Muellers-Obstruction.pdf (last visited April 4. 2022).
5 Although Yates was a plurality opinion, Justice Alito’s concurring opinion also

supports the former Attorney General’s and Mr. Foy’s position. According to Justice
Alito, the statute’s list of nouns, its list of verbs, and its title all stood out as showing
that the statute in question did not reach the conduct of the defendant in that case.
Yates, 574 U.S. at 549 (Alito, J., concurring). Regarding the nouns, Justice Alito
considered the application of both noscitur a sociis and ejusdem generis to find that
the term “tangible object” should refer to “something similar to records or documents.”
Id. at 549–50. In this case, Section 1512(c)(1) refers to “a record, document, or other
object.” There is no allegation that Mr. Foy interfered with any such item, much less
any evidence. Justice Alito then looked at the verbs and noticed some glaring
problems trying to apply those verbs to any tangible object. Id. at 551 (“How does one
make a false entry in a fish?”). Because there was no evidence interfered with by Mr.
Foy (nor will there ever be), the verbs in Section 1512(c) have no object to reference.
Finally, Justice Alito pointed to the title of the statute: “Destruction, alteration, or
falsification of records in Federal investigations and bankruptcy” and noted “This too
points toward filekeeping, not fish.” Id. at 552 (emphasis added). As Mr. Foy has


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      The former Attorney General noted that case law reflects this application of

the residual clause as only applying to “attempts to interfere with, or render false,

evidence that would become available to a proceeding” or “to prevent the flow of

evidence to a proceeding.” Id. at 5 (citing United States v. Volpendesto, 746 F.3d 273

(7th Cir. 2014) (soliciting tips from corrupt cops to evade surveillance); United States

v. Phillips, 583 F.3d 1261 (10th Cir. 2009) (disclosing identity of undercover agent to

subject of grand jury drug investigation)); see also e.g. United States v. Carson, 560

F.3d 566, 584 (6th Cir. 2009) (involving false testimony to a grand jury); United States

v. Jefferson, 751 F.3d 314, 321 (5th Cir. 2014) (involving intentional false statements

to court during a preliminary injunction hearing); United States v. Lucas, 499 F.3d

769, 780–81 (8th Cir. 2007) (involving a defendant having others falsely claim

ownership of a firearm); United States v. Mintmire, 507 F.3d 1273, 1290 (11th Cir.

2007) (involving defendant’s “attempt[s] to orchestrate” grand jury witness’s

testimony by sending notes to an attorney who in turn “coached” the witness); United

States v. Petruk, 781 F.3d 438, 447 (8th Cir. 2015) (involving false statements in a

court proceeding); United States v. Pugh, 945 F.3d 9, 28 (2d Cir. 2019) (involving

destruction of several USB drives and deletion of data); see also United States v.

Burge, 711 F.3d 803, 809 (7th Cir. 2013) (involving providing false answers to

interrogatories in a civil law suit filed by a person seeking damages for mistreatment

while in police custody, explaining that §1512(c)(1) “covers obstructive conduct in the




already addressed above, the title of Section 1512 clearly supports a finding that it
was not intended to apply to all forms of obstructive conduct.


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form of physical destruction of documents and records” whereas § 1512(c)(2) covers

”otherwise” obstructive behavior to include giving false statements in interrogatories

relating to a civil law suit). As the former Attorney General correctly observed, “the

natural and plausible reading of 1512(c)(2)” requires some conduct that impairs the

integrity and availability of some evidence.

        This is entirely consistent with the legislative history of Section 1512(c)(2) as

noted by the former Attorney General and Judge Nichols in Miller. See Miller mem.

op. at 23. Section 1512(c) was passed as part of the Sarbanes-Oxley Act of 2002, “[a]n

Act to protect investors by improving the accuracy and reliability of corporate

disclosures made pursuant to securities laws, and for other purposes.” SARBANES-

OXLEY ACT OF 2002, Pub. L. No. 107-204, 116 Stat. 745. Subsection (c) was added in

part to ensure that there would be liability for those who destroyed records before an

“official proceeding” had convened even if they did not foresee one convening (so long

as their intent is to ensure that the records would be unavailable), and even if they

acted alone (rather than caused others to act in ways that obstructed justice), largely

in reaction to Arthur Andersen LLP having evaded criminal liability for destroying

documents in the wake of the Enron scandal under Section 1512(b)(2), because that

section only criminalized actions directed at another person. 6

        The Senate Judiciary Committee report described the Act’s purpose as

“provid[ing] for criminal prosecution and enhanced penalties of persons who defraud


6   See Arthur Andersen LLP v. United States, 544 U.S. 696, 703-07 (2005).




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investors in publicly traded securities or alter or destroy evidence in certain Federal

investigations.” S. REP. NO. 107-146, at 2 (2002). The Committee Report noted that

much of Arthur Andersen’s document destruction was “undertaken in anticipation of

a SEC subpoena to Andersen for its auditing and consulting work related to Enron.”

Id. at 4. Congress was adamant that “[w]hen a person destroys evidence with the

intent of obstructing any type of investigation and the matter is within the

jurisdiction of a federal agency, overly technical legal distinctions should neither

hinder nor prevent prosecution and punishment.” Id. at 6-7. Thus, the legislative

history of Section 1512(c)(2) “was expressly designed to ‘clarify and close loopholes in

the existing criminal laws relating to the destruction or fabrication of evidence and

the preservation of financial and audit records.’” Barr Memo at 5-6 (quoting S. REP.

NO. 107-146, at 14-15) (emphasis added). As Judge Nichols put it, “in the wake of the

Enron scandal, Congress was faced with a very specific loophole: that then-existing

criminal statutes made it illegal to case or induce another person to destroy

documents, but it did not make it illegal to do by oneself. Congress closed that loop

by passing subsection (c), and nothing in the legislative history suggest a broader

purpose than that.” Miller mem. op. at 28 (emphasis added). Likewise, the former

Attorney General also observed that “[r]eading the residual clause as an all-

encompassing proscription cannot be reconciled either with the other subsections of

§ 1512, or with the other obstruction provisions in Title 18 that must be read in pari

passu with those in § 1512.” Barr Memo at 5.




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      If this Court were to interpret Section 1512(c)(2) as the government wants it

to — as an all-encompassing catch-all to include something so unique as protesting

the election certification proceedings — “clause (c)(2) would render all the specific

terms in clause (c)(1) surplusage; moreover, it would swallow up all the specific

prohibitions in the remainder of § 1512 — subsections (a), (b), and (d).” Id. And, as

Mr. Barr continued, “[m]ore than that, it would subsume virtually all other

obstruction provisions in Title 18. . . . It is not too much of an exaggeration to say

that, if § 1512(c)(2) can be read as broadly as being proposed, then virtually all

Federal obstruction law could be reduced to this single clause.” Id.; see also Marx v.

General Revenue Corp., 568 U.S. 371, 386 (2013) (“[T]he canon against surplusage is

strongest when an interpretation would render superfluous another part of the same

statutory scheme.”).

      In sum, the canons of construction employed by the Court in Begay and Yates,

the text, structure, and the practical application of Section 1512(c)(2) as

demonstrated in caselaw, as well as its legislative history all support a holding that

the “otherwise” clause in Section 1512(c)(2) must be construed in a similar vein to the

terms that are in clause one. Thus, in order for Count One to sufficiently allege a

violation, it must allege that Mr. Foy took “some action with respect to a document,

record, or other object in order to corruptly obstruct, impede, or influence an official

proceeding.” Miller mem. op. at 28. Because no such allegation exists in the

Indictment here (nor can there ever be one), this Court should adopt the reasoning




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applied by Judge Nichols in Miller and dismiss Count Two of the Indictment alleging

a violation of Section1512(c)(2).

      THE CERTIFICATION OF THE ELECTORAL VOTE WAS NOT AN
                     “OFFICIAL PROCEEDING”
I.     Section 1512(c)(2) prohibits obstructing only “official proceedings,”
       which are tribunal-like proceedings relating to the administration of
       justice.
       Congress defined the term “official proceeding” for purposes of Sections 1512

and 1513 in Section 1515(a)(1), as follows:

              (A) a proceeding before a judge or court of the United
              States, a United States magistrate judge, a bankruptcy
              judge, a judge of the United States Tax Court, a special
              trial judge of the Tax Court, a judge of the United States
              Court of Federal Claims, or a Federal grand jury;
              (B) a proceeding before the Congress;
              (C) a proceeding before a Federal Government agency
              which is authorized by law; or
              (D) a proceeding involving the business of insurance whose
              activities affect interstate commerce before any insurance
              regulatory official or agency or any agent or examiner
              appointed by such official or agency to examine the affairs
              of any person engaged in the business of insurance whose
              activities affect interstate commerce[.]


       The language of the statute suggests that the term “official proceeding” refers to

tribunal-like proceedings relating to adjudication, deliberation, and the administration

of justice, all features which the electoral count lacks. As such, though the counting of

the electoral vote takes place in Congress, it is not an “official proceeding.”

       A.     The text in and around Sections 1515 and 1512 support this view.

       The “plain meaning of § 1512(c)(2) and § 1515(a)(1)(A) is unambiguous—an

informal, routine agency action like clearance-adjudication does not fall within the


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statutory definition of an “official proceeding.” U.S v. Guertin, 1:21-CR-262 (TNM),

2022 WL 203467 (D.D.C. Jan. 24, 2022) at *5. Instead, as Judge McFadden found in

Guertin, an “official proceeding” must “resemble a formal tribunal.” Id. at *6. By the

rationale applied by a judge of this Court in Guertin, the electoral count likewise does

not qualify as an “official proceeding.” 7

       In Guertin, the district judge began by noting that “official proceeding” can

have a broad or narrow definition. The court found for good reason that the narrow

definition must be applied. Id. at *5. The court then went on to analyze the text of

the 1512(c)(2), observing that “official” appears before “proceeding,” thus “textually

limiting covered proceedings to those bearing indicia of officiality.” Id at *7. Next,

the court found that the definitional provisions in 1515(a)(1) support that reading,

observing that the “word ‘before’ suggests an ‘official proceeding’ would typically

entail convening a formal tribunal or adjudicative body before which parties are

compelled to appear.” Id. (internal citations omitted) (emphasis omitted). After

careful textual analysis, this court held that taken together, Sections 1515(a)(1) and

1512 make clear that a covered “proceeding before a Federal government agency”

must resemble a formal tribunal.” Id.; See also United States v. Ermoian, 752 F.3d 1165,

1172 (9th Cir. 2013) (analyzing the text in and surrounding Sections 1515 and 1512 to

determine that the phrase “a proceeding before a Federal Government agency which

is authorized by law” in Section 1515(a)(1)(C) does not include FBI investigations);




7Judge McFadden has denied Motions to Dismiss the Obstruction count in January
6 cases. See e.g. United States v. Hale-Cusanelli, 21CR37 (D.D.C. May 6, 2022).


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United States v. Ramos, 537 F.3d 439, 462–63 (5th Cir. 2008) (stating that “use[ of]

the preposition ‘before’ in connection with the term ‘Federal Government agency’ . . .

implies that an ‘official proceeding’ involves some formal convocation of the agency in

which parties are directed to appear, instead of any informal investigation conducted

by any member of the agency.”). The foregoing analysis demonstrates that Section

1515(a)(1)(B) does not include the counting of electoral votes.

      B.     The electoral count is not an official proceeding because it is a ceremonial
             event.

      Just as the “criminal investigation” in Ermoian and the “routine certification”

in Guertin did not meet the definition of an “official proceeding” under the obstruction

of justice statute with the full context in mind, neither do the election certification

proceedings meet that same definition here. Indeed, when considering Congress’s role

in counting electoral votes pursuant to the 12th Amendment and the Electoral Count

Act of 1887, later codified in 3 U.S.C. § 15, it is clear that the electoral count is a

ceremonial and administrative event, bearing no resemblance to a tribunal. The

Twelfth Amendment and 3 U.S.C. § 15 place responsibility on Congress to count

electoral votes after the states have already heard disputes and certified the vote. See

Bush v. Gore, 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring) (the “State’s

selection of electors shall be conclusive, and shall govern in the counting of the

electoral votes.”). The Joint Session does not have the power under the Constitution

to actually reject the votes of any State. See Vasan Kesavan, Is the Electoral Count

Act Unconstitutional?, 80 N.C. L. REV. 1653, 1709 (2002) [hereinafter Kesavan].




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      Thus, though the election certification proceedings may be “official,” no one is

“before” the Congress in those proceedings; the proceedings entail no formal

investigation or consideration of facts; and there is little to no discretion on the part

of the Joint Session of Congress and its Presiding Officer. No parties are summoned

to attend the proceedings; no witness or evidence is produced, offered or taken; and

nothing is adjudicated by Congress. As such, the certification proceedings are nothing

like tribunal proceedings, and have nothing in common with the “business done in

courts,” or acts “done by the authority or direction of the court, express or implied.”

See Ermoian, 752 F.3d at 1170 (“‘Proceeding’ is a word much used to express the

business done in courts and “is an act done by the authority or direction of the court,

express or implied”) (quoting Black’s Law Dictionary commentary, cited supra).

Instead, the vote count is entirely ministerial and ceremonial.

      The history of “objections” lodged at the Electoral Count further demonstrate

the ceremonial nature of the electoral count. The past objections were mostly made

in the 1800’s because of the confusion of when new states were admitted to the union

and how that impacted whether their votes should count. Objections were ultimately

rejected because it was determined that the Joint Session did not have the authority

to judge the proceedings already had in the states. See Kesavan, supra at 1678-94. In

1876, the most tumultuous American election thus far, Samuel Tilden and

Rutherford Hayes were separated by one electoral vote and four states sent Congress

multiple electoral returns. Id. Instead of the Joint Session resolving this issue

(because Congress recognized that the Joint Session did not have the authority to do




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so), Congress formed a separate commission to sort through the chaos and decide the

issues of fact and law presented. Id. Subsequently, to address issues like this in the

future, Congress enacted the Electoral Count Act of 1887, placing on the states the

responsibility to resolve disputes about electors and their appointments and

certifications. Stephen A. Siegel, The Conscientious Congressman’s Guide to the

Electoral Count Act of 1887, 56 FLA. L. REV. 540, 543 (July 2004).

      In 1969, there was an objection that a vote sent up to Congress from North

Carolina should not be counted because it reflected the “faithless” elector who had

refused to give his vote to Richard Nixon, despite Nixon winning the popular vote in

that state. The objection was rejected, and the vote at issue counted, because of the

strong reminder of representatives such as R. Rarick who said:

      We are not election supervisors nor given the discretion to re-compute
      the vote received from a sovereign state. The Constitution clearly
      proscribes our duty as to ‘count the electoral votes,’ the ministerial
      function of a central collecting agency and a tabulating point.
See Kesavan, supra at 1694, 2022 (emphasis added).

      For all these reasons, the Electoral Count is not “a proceeding” akin to a formal

hearing and it is not “tribune-like,’ as this Court found to be required in Guertin.

Rather, it is a ceremonial meeting of both houses of Congress. While steeped in

tradition, it decides nothing. It is a political performance conducted in order to give

the country a feeling of finality over the already final election results. As a result, the

Electoral Count is not an “official proceeding” and Count Two of the Indictment

should be dismissed.




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       SECTION 1512(C)(2) IS UNCONSTITUTIONALLY VAGUE BECAUSE
                           “CORRUPTLY” IS VAGUE
      The Court should dismiss Count Two for a third and related reason, which is

that Section 1512(c)(2) as applied to Congressional proceedings fails to provide

constitutionally required notice of what the statute prohibits, because the contextual

meaning of “corruptly” is vague. In the alternative, the only construction of

“corruptly” that might enable the statute to pass constitutional muster is acting with

the intent to obtain an unlawful advantage for oneself or an associate contrary to the

due administration of justice. But because Count Two fails to allege anything relating

to the administration of justice, the Court should dismiss in any case.

      In order to comply with the requirements of due process, a statute must give

fair warning of the prohibited conduct. Bouie v. City of Columbia, 378 U.S. 347, 350-

1 (1964). A statute is unconstitutionally vague under the due process clause if “it fails

to give ordinary people fair notice of the conduct it punishes, or so standardless that

it invites arbitrary enforcement.” Johnson v. United States, 576 U.S. 591, 595–96

(2015); see also Kolender v. Lawson, 461 U.S. 352, 357–58 (1983) (“[A] penal statute

must define the criminal offense with sufficient definiteness that ordinary people can

understand what conduct it prohibits, and do so in a manner that does not invite

arbitrary and discriminatory enforcement by which ‘policemen, prosecutors, and

juries ... pursue their personal predilections.’”); Connally v. General Construction

Company, 269 U.S. 385, 391 (1926) (“[A] statute which either forbids or requires the

doing of an act in terms so vague that men of common intelligence must necessarily

guess at its meaning and differ as to its application, violates the first essential of due



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process of law.”). The allegations against Mr. Foy in Count Two of the Indictment fail

in both respects.

I.    “Corruptly,” as used in Section 1512(c)(2), is unconstitutionally vague.

      In United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991) the Court of

Appeals for this Circuit ruled that the word “corruptly” is prone to causing vagueness

in a case concerning Section 1505, which criminalizes


      [w]hoever corruptly, or by threats or force, or by any threatening letter
      or communication influences, obstructs, or impedes or endeavors to
      influence, obstruct, or impede the due and proper administration of the
      law under which any pending proceeding is being had before any
      department or agency of the United States, or the due and proper
      exercise of the power of inquiry under which any inquiry or investigation
      is being had by either House, or any committee of either House or any
      joint committee of the Congress –

18 U.S.C. § 1505.

      Congress later added the definition of “corruptly” now applicable to the statute

via Section 1515(b), but in Poindexter, the court analyzed the text without that

context. The court stated that the word “corruptly” in the text “must have some

meaning, because otherwise the statute would criminalize all attempts to ‘influence’

congressional [proceedings] – an absurd result that Congress could not have intended

in enacting the statute.” Poindexter, 951 F.2d at 377-8 (analyzing application of §

1505 as applied to making false statements to Congress).

      The court also found that dictionary alone did not make clear what that
      meaning is. First, there are several dictionary definitions:“[C]orruptly”
      is the adverbial form of the adjective “corrupt,” which means “depraved,
      evil: perverted into a state of moral weakness or wickedness . . . of
      debased political morality; characterized by bribery, the selling of
      political favors, or other improper political or legal transactions or
      arrangements.” A “corrupt” intent may also be defined as “the intent to


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      obtain an improper advantage for [one]self or someone else, inconsistent
      with official duty and the rights of others.”

Id. at 378 (quoting United States v. North, 910 F. 2d 843, 881-82 (D.C. Cir. 1990)).

Poindexter argued that “so defined, ‘corruptly’ is vague as used in section 1505.” Id.

at 378. Mr. Foy argues that, so defined, “corruptly” as used in Section 1512 is as well.

      The Court of Appeals acknowledged, and this Court must as well, that “on its

face, the word ‘corruptly’ is vague; that is, in the absence of some narrowing gloss,

people must ‘guess at its meaning and differ as to its application.’” Id. at 378. And,

just as the court found that “corruptly influencing” a congressional inquiry “does not

at all clearly encompass lying to Congress, which is, by way of contrast, clearly a

violation of § 1001,” id., this Court must acknowledge that the conduct alleged in the

instant Indictment – which also would clearly violate another statute (40 U.S.C. §

5104) – does not clearly fall within “corruptly . . . otherwise obstructing, influencing,

or impeding” an official proceeding, using the dictionary definitions of “corruptly.”

That is because “[t]he various dictionary definitions of the adjective ‘corrupt’” are

themselves vague. Id. “Words like ‘depraved,’ ‘evil,’ ‘immoral,’ ‘wicked,’ and ‘improper’

are no more specific – indeed they may be less specific – than ‘corrupt.’” Id. at 378-79.

Because of this, the Court of Appeals for this Circuit found the word “corruptly” as

used in Section 1505 “too vague to provide constitutionally adequate notice that it

prohibits lying to the Congress.” Id. at 379.

      Applying the logic of Poindexter, the only way the use of the word in Section

1512 can avoid the same fate is if the text or other context “clearly indicates a more

specific meaning of the term ‘corruptly,’” and Mr. Foy’s “conduct comes within that



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meaning.” Id. at 379 (considering whether the use of the word, the legislative history

of 1505, or judicial gloss on the statute provided a clear indication of a more specific

meaning of the word in that statute, and ultimately concluding that it did not).

      In Poindexter, the court first considered whether the usage of the word

“corruptly” gave it more definition. Id. at 379. The court noted;

      the verb “corrupt” may be used transitively (“A corrupts B,” i.e., “A
      causes B to act corruptly”) or intransitively (“A corrupts,” i.e., “A
      becomes corrupt, depraved, impure, etc.”). So too, the adverbial form
      “corruptly” may have either the transitive or the intransitive sense. See
      3 Oxford English Dictionary 974 (2d ed. 1989) (“corruptly” may mean
      either “by means of corruption or bribery,” i.e., by means of corrupting
      another, or acting oneself “in a corrupt or depraved manner”).

      Id. at 379. But the court found that this analysis did not evade the
      vagueness in the word itself because either a transitive or an
      intransitive interpretation would still be unconstitutionally vague . . . if
      specific content is not given to the word ‘corruptly.’ Reading ‘corruptly’
      to prohibit one from influencing another to act ‘immorally’ or
      ‘improperly’ provides no more guidance than does reading it to prohibit
      one from acting ‘immorally’ or ‘improperly’ oneself.
Id.

The same issue is presented here: No matter how “corruptly” is used in Section

1512(c)(2) – transitively or intransitively – the word lacks definition and remains too

vague to provide constitutionally-required notice.

II.   The emerging definitions of “corruptly” in this District demonstrate
      how vague the term is.

      This Court’s colleagues do not disagree that, in the abstract, “corruptly” is

somewhat vague, and acknowledge that many of words often used to define it are of

little help. See, e.g., Caldwell mem. op. at *9 (noting that Poindexter provided that

“’the word ‘corruptly’ is vague” and that, “in absence of some narrowing gloss, people



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must ‘guess at its meaning and differ as to its application’”). Judges in this Circuit

have found that judicial gloss provides further and sufficient narrowing definition to

the word “corruptly.” But they do not agree on what that gloss provides. All appear

to agree that “corruptly” requires proof of intent to obstruct an official proceeding,

and that there must be some nexus, a relationship in time, causation, or logic,

between the defendant’s actions and the official proceeding in question. But they do

not all agree on the rest of the definition of “corruptly,” or arrive at their conclusion

exactly the same way.

      Judge Friedrich appears to conclude that judicial gloss provides notice that

proof that a defendant acted “corruptly” also must include proof that he acted

“wrongfully.” U.S. v. Ronald Sandlin, 21-cr-88-DLF ECF No. 63, at *11-13 (D.D.C.

2021) [hereinafter Sandlin mem. op]. The court finds that “in considering the

meaning of “corruptly” (or wrongfully), courts have drawn a clear distinction between

lawful and unlawful conduct,” drawing “a line that is consistent with the definition

of ‘wrongful’: that is contrary to law, statute, or established rule.” Id. at *12 (internal

citations omitted). This meaning, and judicial opinions, according to this Court,

“identify a core set of conduct against which § 1512(c)(2) may be constitutionally

applied – ‘independently criminal’ conduct . . . that is ‘inherently malign’,” in addition

to being intended to obstruct a proceeding with which it has a nexus. Id. at *13. Thus,

this Court concluded that the statute is not vague as applied against the defendants

accused of illegal conduct intended to obstruct an official proceeding, at least so long

as it is inherently malign. Id.




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       In the Nordean case, Judge Kelly appears to follow the logic of Sandlin,

concluding that corruptly means at least “intentionally” and “wrongfully” and that

the defendants in that case are alleged to have so-acted because they allegedly used

“unlawful means.” United States v. Nordean, Criminal Action 21-175 (TJK) at *21

(D.D.C. Dec. 28, 2021) [hereinafter Nordean mem. op.]. However, Judge Kelly seems

to be more open to the notion that unlawful purposes, as opposed to unlawful means

(such as breaking the law) can satisfy the “wrongfulness” prong perceived as a

limitation on the meaning of “corrupt” in section 1512(c)(2). Nordean mem. op. at *25.

       Judge Boasberg also closely follows this Court’s rationale, in Mostofsky.

However, that court interprets Sandlin to stand for the proposition that “corruptly”

requires “that defendants acted ‘unlawfully, and with the intent to obstruct[,]’

impede, or influence an official proceeding.” United States v. Mostofsky, Criminal

Action 21-138 (JEB) at *22 (D.D.C. Dec. 21, 2021) (emphasis added) (alteration in

original).

       Judge Mehta takes yet another view of what the judicial gloss provides. In

Caldwell, Judge Mehta concludes that case law provides notice that “corrupt” action

involves “consciousness of wrongdoing” undertaken with specific intent to obstruct a

congressional proceeding. Caldwell mem. op. at *10-11. But apparently not all

conscious wrongdoing suffices, per this opinion: whereas preplanning to obstruct,

wearing paramilitary gear, forcible trespass and assault, and coordinated movement

through the Capitol would apparently qualify, “mere . . . trespass” apparently would

not. Id. at *13. Thus, Judge Mehta perceives an extra limitation on what it means to




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act corruptly (i.e., it includes consciously violating crimes at least more serious than

trespass).

       In Montgomery, Judge Moss appears to track Judge Mehta’s reasoning,

finding that case law preceding and following Poindexter provides notice that, to

prove a defendant acted corruptly, the government must establish intent to obstruct

an official proceeding, and “consciousness of wrongdoing.” United States v.

Montgomery, Criminal Action 21-46 (RDM) at *44-45 (D.D.C. Dec. 28, 2021).

However, Judge Moss allows that there could be further requirements, including

proof that the defendant used “some unlawful method” and acted “with the hope or

expectation of a benefit to oneself or a benefit to another person.” Id. at *47 n.5

(internal citations omitted)).

      These various spins on just what it means to act “corruptly” under Section

1512(c)(2) demonstrate that the defendants in all of these cases are right that the law

was not so clear about what “corruptly” means, and that neither the text nor the

judicial gloss on it provided them with sufficient notice that it could be applied against

their conduct.

 THE RULE OF LENITY PROVIDES CONFIRMATION THAT THE COURT
                SHOULD DISMISS COUNT TWO.

      Finally, if recourse to any of the “traditional tools of statutory construction

leaves any doubt” about the meaning of “corruptly obstructing, influencing, or

impeding a proceeding before Congress,” as those terms are used in Section

1512(c)(2), this Court could also invoke the rule that “ambiguity concerning the ambit

of criminal statutes should be resolved in favor of lenity.” Yates, 574 U.S. at 547-48



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(quoting Cleveland v. United States, 531 U.S. 12, 25 (2000), in turn quoting Rewis v.

United States, 401 U.S. 808, 812 (1971)). As it was in Yates, “[t]hat interpretative

principle is relevant here, where the Government urges a reading of [Section

1512(c)(2)] that exposes individuals to 20-year prison sentences” for obstructing any

proceeding before Congress in any manner that it deems “corrupt.” Id. (citing

Liparota v. United States, 471 U.S. 419, 427 (1985)) (“Application of the rule of lenity

ensures that criminal statutes will provide fair warning concerning conduct rendered

illegal and strikes the appropriate balance between the legislature, the prosecutor,

and the court in defining criminal liability.”).

       “In determining the meaning of “corruptly obstructing, influencing, or

impeding a proceeding before Congress,” as those terms are used in Section 1512, as

it was for the Court in interpreting Section 1519 in Yates, it would also be

“appropriate, before [choosing] the harsher alternative, to require that Congress

should have spoken in language that is clear and definite.” Id. (quoting Cleveland,

531 U.S. at 25, in turn quoting United States v. Universal C.I.T. Credit Corp., 344

U.S. 218, 222 (1952)). Because Congress failed to do so, and the government has

accused Mr. Foy such that it is not “clear and definite” that his conduct violates

Section 1512(c)(2), this Court should dismiss Count Two of the Indictment against

him.

                                  CONCLUSION
       For all of these reasons, and such others as may be advanced in further briefing

on this motion, and a hearing on this matter, Mr. Foy respectfully requests that the

Court dismiss Count Two of the Indictment.


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                                   Respectfully Submitted,

                                   MICHAEL J. FOY

                                   by counsel:

                                   A.J. Kramer
                                   Federal Public Defender for the
                                   District of Columbia


                                   __________/s/___________________
                                   ELIZABETH MULLIN
                                   EUGENE OHM
                                   Assistant Federal Public Defenders
                                   625 Indiana Avenue, N.W., Suite 550
                                   Washington, D.C. 20004
                                   (202) 208-7500




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